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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION
CINDY LUTTRELL,                                   )
                                                  )
       Plaintiff,                                 )
v.                                                )   Case No. 4:21-cv-00960-SEP
                                                  )
DN SOLUTIONS AMERICA                              )
CORPORATION, et al.,                              )
                                                  )
       Defendants.                                )
                                MEMORANDUM AND ORDER
       Before the Court is Plaintiff’s Motion to Compel, Doc. [93]. The motion is fully briefed
and ready for disposition. Docs. [94], [98], [104], [132]. For the reasons set forth below, the
motion is granted in part.
                                    FACTS AND BACKGROUND
       On April 2, 2020, Michael Luttrell was killed while operating a Doosan PUMA V400
Vertical Turning Center (“Machine”) at an Ace Manufacturing facility in Sullivan, Missouri. See
Doc. [92] (Third Amended Complaint). “The Machine forms finished metal parts by spinning a
workpiece at high speed and moving the boring bar, equipped with a cutting blade, into the
spinning workpiece; the spinning workpiece is held by a chuck; the movement of the boring bar
is controlled by programmed numeric controls; [and] the numeric controls are directed by a ‘run’
program inserted by the machine operator.” Id. ¶ 35. While Mr. Luttrell was operating the
Machine, the “workpiece [ ] suddenly ejected from the Machine and through the heavy
reinforced steel door, causing both the door and the part to strike the Decedent in the chest with
great force.” Id. ¶¶ 49-50. Mr. Luttrell died from the injuries he sustained. Id. ¶ 55. Plaintiff,
Mr. Luttrell’s wife, sued DN Solutions Co., LTD (“DNS Korea”), DN Solutions America
Corporation (“DNSA”), TechMachinery, LLC (“TechMach”), and Bob Brown Machines, Inc.
(“Brown Machine”), alleging the “Machine was designed, manufactured, assembled, sold and/or
distributed by Defendants” and seeking damages for Mr. Luttrell’s death. Id. ¶¶ 58, 67, 76.
       Plaintiff moves to compel DNSA to produce any “photographs, videos, testing reports
and evaluation reports (i.e. the raw factual information and data) about the condition of the
Machine obtained during DNSA’s inspection on April 24, 2020.” Doc. [94] at 8-9. DNSA


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objects to Plaintiff’s request asserting that the information Plaintiff seeks to compel is privileged
work product prepared in anticipation of litigation. Doc. [98] at 2.
                                          LEGAL STANDARD
        Federal Rule of Civil Procedure 26(b)(1) sets the scope of discovery:
        Parties may obtain discovery regarding any nonprivileged matter that is relevant to any
        party’s claim or defense and proportional to the needs of the case, considering the
        importance of the issues at stake in the action, the amount in controversy, the parties’
        relative access to relevant information, the parties’ resources, the importance of the
        discovery in resolving the issues, and whether the burden or expense of the proposed
        discovery outweighs its likely benefit.
        “Ordinarily, a party may not discover documents and tangible things that are prepared in
anticipation of litigation or for trial by or for another party or its representative.” Fed. R. Civ. P.
26(b)(3)(A). There are two kinds of work product: ordinary work product, which includes “raw
factual information,” and opinion work product, which encompasses “counsel’s mental
impressions, conclusions, opinions or legal theories.” Baker v. General Motors Corp., 209 F.3d
1051, 1054 (8th Cir. 2000). “Ordinary work product is not discoverable unless the party seeking
discovery has a substantial need for the materials and the party cannot obtain the substantial
equivalent of the materials by other means.” Id. (citing Fed. R. Civ. P. 26(b)(3)). “In contrast,
opinion work product enjoys almost absolute immunity and can be discovered only in very rare
and extraordinary circumstances, such as when the material demonstrates that an attorney
engaged in illegal conduct or fraud.” Id. When a litigant withholds information based on the
work product doctrine, Federal Rule of Civil Procedure 26(b)(5)(A)(ii) requires the litigant to
“describe the nature of the documents, communications, or tangible things not produced or
disclosed—and do so in a manner that, without revealing information itself privileged or
protected, will enable other parties to assess the claim.”
                                             DISCUSSION
        DNSA argues that the materials Plaintiff requests are protected under the work product
doctrine because DNSA “anticipated litigation at the time the materials sought by Plaintiff were
prepared.” Doc. [98] at 4. “The information supporting a claim that the work product doctrine
protects material from disclosure is generally provided in a ‘privilege log.’” Nunnally v.
Stillwater Ins. Co., 2019 WL 2009617, *5 (E.D. Mo. May 7, 2019). A privilege log “should
provide sufficient factual information with respect to each item withheld for another litigant to
assess the work product doctrine claim with respect to each item.” Id. The privilege log DNSA

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provided to Plaintiff is deficient. It does not provide enough information for Plaintiff even to
discern what items were withheld, much less to assess Defendant’s work product claim with
respect to each one of them. See Doc. [94-1] at 1. On the other hand, Plaintiff has met her
burden of showing a substantial need for the requested materials and that the substantial
equivalent of the information cannot be obtained through other means.
        To begin with, the Court agrees with Plaintiff that the condition of the Machine shortly
after the incident but before its repair is directly relevant to her claims, because it will “assist
Plaintiff and her consultants in analyzing and proving the cause of [the] accident and the
defectiveness of the Machine.” Doc. [94] at 9. The parties’ main disagreement pertains to
whether the substantial equivalent of the information can be obtained through other means.
        The inspection took place on April 24, 2020. See Doc. [94] at 1; Doc. [98] at 1. Neither
Plaintiff nor counsel on her behalf was present for the inspection; in fact, Plaintiff maintains she
was not represented by any counsel at the time of the inspection. Doc. [94] at 9. DNSA suggests
that Plaintiff could have retained counsel and an expert at the time of the April 2020 inspection.
Doc. [98] at 11. The Court does not find that persuasive. Plaintiff’s failure to obtain counsel and
an expert within 22 days of her husband’s death is a far cry from the situations the work product
privilege is meant to prevent. See Sandra T.E. v. S. Berwyn Sch. Dist. 100, 600 F.3d 612, 622
(7th Cir. 2010) (“[T]he work-product doctrine is designed . . . to limit the circumstances in which
attorneys may piggyback on the fact-finding investigation of their more diligent counterparts.”).
The Court is also unpersuaded by DNSA’s suggestion that Plaintiff could conduct her own
inspection by mounting the damaged door on the Machine. Doc. [98] at 12. The Machine was
repaired shortly after the April 2020 inspection, so any inspection at this point would not provide
Plaintiff with the substantial equivalent of the information obtained at the April 2020 inspection
of the damaged Machine.
        Because Plaintiff cannot conduct her own inspection, she has sought to obtain
information related to the inspection through other means. Plaintiff submitted a Freedom of
Information Act Request to the Occupational Safety & Health Administration and received a
106-page redacted file with four photographs but no videos. 1 Doc. [132] at 6. Ace
Manufacturing produced “366 pages of records, plus a DAT file with the CNC programming


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 According to Plaintiff, Ms. Barnes of OSHA indicated that the same documents would be produced by
OSHA in response to a subpoena. Doc. [132] at 6 n.4.

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code input by Decedent into the Machine, and a video when the incident occurred.” Id. Ace did
not produce any videos from the inspection. Id. TechMach produced 420 photographs of the
Machine including those taken at the inspection as well as a folder labeled “Ace Backup
Downloaded Machine Data” that contained raw data and files downloaded from the Machine on
April 24, 2020. Id. at 6-7. TechMach indicated that it did not have any videos of the Machine or
any “Documents, Communications and Electric Media relating to any testing done on the
Machine including at the inspection at Ace on April 24, 2020.” Id.
        Despite her efforts, Plaintiff has not obtained any video of the live stream inspection or
the results of the non-destructive inspection and scanning of the Machine conducted by DNSA’s
consulting experts at the inspection. Id. at 5. Plaintiff believes that information to be in the
hands of DNSA based on a letter sent by DNSA’s counsel regarding the April 2020 inspection.
Id. The letter states, in relevant part:
        This will confirm that the inspection of the Doosan Puma V400 Vertical Turning Center,
        Serial No. PV400551 (“subject turning center”) will proceed on Friday, April 24, 2020, at
        9 A.M. at Ace Manufacturing & Part Company, located at 300 Ramsey Dr., Sullivan, MO
        63080.
        In attendance on behalf of Doosan Machine Tools America Corp. (“DMTA”) will be our
        consulting experts from Engineering Systems, Inc. (“ESI”). Because of the current stay
        at-home orders in place in New York and New Jersey, counsel on behalf of DMTA as
        well as a representative from DMTA, will not be able to attend in person. Instead, our
        consulting experts will have a camera to live stream the inspection for us.
        As part of the inspection process, our consulting experts will be conducting a non-
        destructive inspection of and scanning the subject turning center, including its controllers
        and computers, all component parts, such as the chuck, jaws and workholdings, all tools
        and inserts in the subject turning center at the time of the accident, the work piece and the
        work area.
Doc. [132-3] at 1.
        Based on DNSA’s deficient privilege log, the Court has no way of knowing what
information DNSA or its consultants obtained during the April 2020 inspection. To the extent
such information exists, the Court finds that Plaintiff has shown a substantial need for the
materials and that the substantial equivalent of the information cannot be obtained through other
means. As such, DNSA must provide Plaintiff with an updated privilege log that provides
enough information about each item obtained during the inspection on April 24, 2020, for
Plaintiff to discern whether it is duplicative of something already in her possession. The parties
should then meet and confer to discuss each item. Without disclosing anything containing the
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mental impressions, conclusions, opinions, or legal theories of DNSA’s attorney or other
representative concerning the litigation, DNSA must produce any item obtained during the
inspection that is not already in Plaintiff’s possession.
         Accordingly,
         IT IS HEREBY ORDERED that Plaintiff’s Motion to Compel, Doc. [93], is
GRANTED in part. The parties will comply with the Court’s instructions as set forth in this
Order.
         Dated this 20th day of November, 2024.



                                                   SARAH E. PITLYK
                                                   UNITED STATES DISTRICT JUDGE




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